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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

STEPHEN KNUTH,

               Plaintiff,

v.
                                                     CASE NO: 3:16-cv-00719-TJC-JRK
CITIBANK, N.A.,

               Defendant.
                                                 /

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, STEPHEN KNUTH and Defendant, CITIBANK, N.A., pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A), stipulate that the matters between them have been resolved

and therefore request this Honorable Court to dismiss Plaintiffs’ claims, with Prejudice, against

Defendant with each party to bear its own fees and costs.

Respectfully Submitted,


DAVIS LAW FIRM                         AKERMAN, LLP

s/Todd M. Davis                        s/John L. Dicks
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 28, 2016, I e-filed this document using the

CM/ECF system, which will notify the other parties of record.

                                                          /s/TODD M. DAVIS
                                                          Todd M. Davis




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